                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    MALLINCKRODT PLC, et al.,1                               Case No. 20-12522 (JTD)
                                                             (Jointly Administered)
                             Reorganized Debtors.


    Heather L. Barlow as Trustee of the
    MALLINCKRODT GENERAL
    UNSECURED CLAIMS TRUST,

                             Plaintiff,
                                                             Adv. Proc. No. 22-50426 (JTD)
                   v.

    FIRST OBJECT INC.,
                                                             Re: Docket Nos. 12 & 13
                             Defendant.



                     ORDER APPROVING STIPULATION EXTENDING
                   TIME FOR PLAINTIFF TO RESPOND TO MOTION OF
               FIRST OBJECT, INC. TO RE-OPEN ADVERSARY PROCEEDING,
             VACATE DEFAULT JUDGMENT AND SET ASIDE ENTRY OF DEFAULT


                  Upon consideration of the Stipulation Extending Time for Plaintiff to Respond to

Motion of First Object, Inc. to Re-Open Adversary Proceeding, Vacate Default Judgment and Set

Aside Entry of Default, a copy of which is attached hereto as Exhibit A, (the “Stipulation”) and

after due deliberation and sufficient cause appearing therefore, it is hereby




1
 A complete list of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of the
Reorganized Debtors’ claims and noticing agent at http://restructuring.ra.kroll.com/Mallinckrodt. The Reorganized
Debtors’ mailing address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.


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                 ORDERED that the Stipulation and the terms set forth therein are APPROVED

and shall have the full force and effect of an order entered by the Court with respect thereto; and

it is further

                 ORDERED that entry of this Order and approval of the Stipulation is without

prejudice to request further extensions; and it is

                 ORDERED that this Court retains jurisdiction to interpret, implement and enforce

the provisions of this Order and the Stipulation.




         Dated: March 1st, 2023                          JOHN T. DORSEY
         Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE



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